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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
              Plaintiff,                      )       ORDER AMENDING
                                              )       CONDITIONS OF RELEASE
       vs.                                    )
                                              )
Dale Kenneth Fish,                            )       Case No. 1:13-cr-129
                                              )
              Defendant.                      )


       IT IS ORDERED that Defendant Dale Kenneth Fish’s Conditions of Release (Docket No.

147) are amended as follows:

       (9) Defendant shall not knowingly or intentionally have any direct or indirect
       contact with codefendants with the exceptions that Defendant may have contact with
       his brother Brock Fay Fish regarding matters not related to this case and that counsel
       for the defendant, or counsel’s agent or authorized representative, may have such
       contact with such person(s) as is necessary in the furtherance of the defendant’s legal
       defense.

       Dated this 23rd day of September, 2013.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court
